  Case 1:03-cr-00033-RJA-HBS        Document 501   Filed 02/06/07    Page 1 of 4



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA



           v.                                           03-CR-33-A


DANIEL RIVERA,

                 Defendant



                     PRELIMINARY ORDER OF FORFEITURE


     IT IS HEREBY ORDERED that as a result of the plea agreement

entered   into   between      the    defendant,    DANIEL    RIVERA       and    the

government, the defendant, DANIEL RIVERA, shall forfeit to the

United States all his interest in:



     a.    One .38 caliber Derringer pistol, bearing serial number

           L41841 pursuant to Title 18, United States Code, §§

           924(d) and 3665;

     b.    Ten (10) rounds of .38 caliber ammunition pursuant to

           Title 18, United States Code, §§ 924(d) and 3665;

     c.    $20,252    United    States     currency    seized       by   the    Drug

           Enforcement on February 13, 2003 pursuant to Title 21,

           United States Code, § 853; and

     d.    $2,450    United     States     currency    seized       by   the    Drug

           Enforcement Administration on February 13, 2003 pursuant

           to Title 21, United States Code, § 853.
  Case 1:03-cr-00033-RJA-HBS    Document 501   Filed 02/06/07   Page 2 of 4



     ORDERED, upon entry of this Order, this Preliminary Order of

Forfeiture is now final as to the defendant and shall be made part

of the sentence and included in the judgment.           If no third party

files a timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2); and it is

further



     Upon the entry of this Order, the Attorney General, through

the United States Attorney’s Office, is authorized to commence any

applicable proceeding to comply with the statutes governing third

party rights, including giving notice of this Order.



     The United States shall publish notice of the order and its

intent to dispose of the property in such a manner as the Attorney

General may direct.     The United States may also, to the extent

practicable, provide written notice to any person known to have an

alleged interest in the subject property.



     Any person, other than the above named defendant, asserting a

legal interest in the subject property may, within thirty days of

the final publication of notice or receipt of notice, whichever is

earlier, petition the court for a hearing without a jury to

adjudicate the validity        of his alleged interest in the subject

property, and for an amendment of the order of forfeiture, pursuant

to 21 U.S.C. § 853(n)(6).
  Case 1:03-cr-00033-RJA-HBS   Document 501   Filed 02/06/07   Page 3 of 4




     Any petition filed by a third party asserting an interest in

the subject property shall be signed by the petitioner under

penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title or interest in the subject property, the

time and circumstances of the petitioner’s acquisition of the

right, title or interest in the subject property, any additional

facts supporting the petitioner’s claim and the relief sought.



     After the disposition of any motion filed under Fed. R. Crim.

P. 32.2(c)(1)(A) and before a hearing on the petition, discovery

may be conducted in accordance with the Federal Rules of Civil

Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.



     The United States shall have clear title to the subject

property following the Court’s disposition of all third party

interests, or, if none, following the expiration of the period for

filing third party petitions, as provided in 21 U.S.C. § 853(n)(2).
   Case 1:03-cr-00033-RJA-HBS   Document 501   Filed 02/06/07   Page 4 of 4



     The Court shall retain jurisdiction to enforce this Order, and

to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).



           SO ORDERED.

                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT

DATED: February 5, 2007
